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                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                          www.flsb.uscourts.gov
                                          CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                              Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                         3rd Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR:              Andres Rojas                                         JOINT DEBTOR:                                       CASE NO.:       14-30601
 Last Four Digits of SS#                   xxx-xx-6722                    Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $           1,384.84 for months             1     to       19       ;
           B.       $           3,379.06 for months            20     to        20      ;
           C.       $           1,709.14 for months            21     to        60      ; in order to pay the following creditors:
 Administrative: Attorney's Fee - $                  6,300.00       TOTAL PAID $                      3,600.00
                     Balance Due       $             2,700.00 payable $ 103.03                   /month (Months          1 to      19 )
                     Balance Due       $                         payable $ 742.50                /month (Months         20 to      20 )
Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
 1. Americas Servicing Co                                            Arrearage on Petition Date $ 0.00
                Po Box 10328; Des
    Address:    Moines, IA 50306                                       Arrears Payment $                   0.00 /month (Months 0 to 0 )
    Account No: xxxxxxxxx0035                                         Mortgage Payment $                1,106.77 /month (Months 1 to 19 )
      Account No. xxxxxxxxx0035                                           Trial Payment $               1,271.68 /month (Months 20 to 60)
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                            Description of Collateral
             Secured Creditor                                and Value of Collateral    Interest Rate        Plan Payments Months of Payment    Total Plan Payments
 Americas Servicing Co
 Po Box 10328; Des Moines,
 IA 50306                                                      6733 SW 140 Ave
 Account No:                                                    Miami, FL 33183
 xxxxxxxxx0036                                   $                   162,741.00             0%          $           0.00       0 To 0                             0.00
 Santander Consumer USA
 PO Box 560284                                                                                                     54.45       1 to 19
 Dallas, TX 75356                                                    2006 VW Jetta                                800.00       20 to 20
 acct #:xxxxxxxxxxxxx4887                        $                         3,000.00        5.25         $          39.57       21 to 60                  $3,417.48
Priority Creditors: [as defined in 11 U.S.C. §507]
      -NONE-                          Total Due $
                                      Payable       $                        /month          (Months to )                     Regular Payment $
Unsecured Creditors: Pay $83.73 /month (Months 1 to 19).
Unsecured Creditors: Pay $ 226.97 /month (Months 20 to 60 ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
Rejected Contracts and/or Leases
 -NONE-
 Assumed Contracts and/or Leases
 -NONE-

             Special Intentions:
             Twin Lakes Association, Inc.: Debtor will pay claim directly.
             Snap on Credit: Debtor will pay claim directly.

             The Debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on
             an annual basis during the pendency of this case. The Debtor(s) hereby acknowledges that the deadline for providing

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             the Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s)
             shall provide the trustee with verification of their disposable income if their gross household income increases by
             more than 3% over the previous year’s income.

                      “The debtor has filed a Verified Motion for Referral to MMM with Americas Servicing Co _(“Lender”), loan
             number xxxxxxxxx0035_, for real property located at 6733 SW 140 Ave Miami, FL 33183_. The parties shall timely
             comply with all requirements of the Order of Referral to MMM and all Administrative Orders/Local Rules regarding
             MMM. While the MMM is pending and until the trial/interim payment plan or the permanent mortgage
             modification/permanent payment is established by the parties, absent Court order to the contrary, the debtor has
             included a post-petition monthly plan payment (a) with respect to the debtor’s homestead, of no less than the lower
             of the prepetition monthly contractual mortgage payment or 31% of the debtor’s gross monthly income (after
             deducting any amount paid toward HOA fees due for the property) and (b) with respect to income producing property,
             of no less than 75% of the gross income generated by such property, as a good faith adequate protection payment to
             the lender. All payments shall be considered timely upon receipt by the trustee and not upon receipt by the lender.

                      Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to
             the lender’s proof of claim on the real property described above shall be held in abeyance as to the regular payment
             and mortgage arrearage stated in the proof of claim only. The debtor shall assert any and all other objections to the
             proof of claim prior to confirmation of the plan or modified plan.

                        If the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement
             as a result of the pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage
             Modification Agreement with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification
             Agreement with Lender) no later than 14 calendar days following settlement. Once the settlement is approved by the
             Court, the debtor shall immediately amend or modify the plan to reflect the settlement and the lender shall amend its
             Proof of Claim to reflect the settlement, as applicable. If a settlement is reached after the plan is confirmed, the debtor
             will file a motion to modify the plan no later than 30 calendar days following approval of the settlement by the Court
             and the Lender shall have leave to amend its Proof of Claim to reflect the settlement reached after confirmation of the
             plan. The parties will then timely comply with any and all requirements necessary to complete the settlement. In the
             event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately
             disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly. If the lender and
             the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is filed, the
             debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proof of
             Claim) or (b) provide that the real property will be surrendered. If the amended or modified plan provides that the real
             property is to be surrendered, then the obligations to the lender will be considered “treated outside the plan” and the
             lender shall have in rem relief from the automatic stay as to the real property being surrendered. Notwithstanding the
             foregoing, lender may file a motion to confirm that the automatic stay is not in effect as to the real property.
             Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of
             its Proof of Claim.”


I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

 /s/ Andres Rojas
 Andres Rojas
 Debtor
 Date: May 20, 2016




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